               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
             CRIMINAL CASE NO. 1:13-cr-00044-MR-DLH-3


UNITED STATES OF AMERICA, )
                           )
              Plaintiff,   )
                           )
         vs.               )                  ORDER
                           )
HERMANT SAHNEY,            )
                           )
              Defendant.   )
__________________________ )


     THIS MATTER is before the Court on the Defendant’s Motion to

Suppress [Doc. 24] and the Magistrate Judge’s Memorandum and

Recommendation regarding the disposition of that motion [Doc. 46].

     Pursuant to 28 U.S.C. § 636(b) and the standing Orders of

Designation of this Court, the Honorable Dennis L. Howell, United States

Magistrate Judge, was designated to consider the Defendant’s motion to

suppress and to submit recommendations for its disposition.

     On    November    15,   2013,   the   Magistrate   Judge     entered    a

Memorandum and Recommendation containing proposed findings of fact

and conclusions of law in support of a recommendation regarding the

Defendant’s motion.    [Doc. 46].    The parties were advised that any



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objections to the Magistrate Judge’s Memorandum and Recommendation

were to be filed in writing within fourteen (14) days of service. The deadline

for filing objections has now passed, and no objections have been filed.

      After a careful review of the Magistrate Judge’s Recommendation,

the Court finds that the proposed findings of fact are correct and that the

proposed conclusions of law are consistent with current case law.

Accordingly,   the   Court   hereby        accepts       the      Magistrate   Judge’s

Recommendation that the Defendant’s motion to suppress be denied.

      IT IS, THEREFORE, ORDERED that the Memorandum and

Recommendation [Doc. 46] is ACCEPTED, and the Defendant’s Motion to

Suppress [Doc. 24] is DENIED.

      IT IS SO ORDERED.               Signed: December 16, 2013




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